                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                         CASE NO. 3:04CR201-04-Mu


UNITED STATES OF AMERICA        )
                                )
         v.                     )                      ORDER
                                )
QUALITEST PHARMACEUTICALS, INC. )
                                )


             THIS MATTER is before the court upon the Motion of the government in

open court on June 8, 2006 to dismiss all Counts against Defendant Qualitest

Pharmaceuticals, Inc. in the Superseding Bill of Indictment.


             IT IS THEREFORE ORDERED that all Counts against Defendant Qualitest

Pharmaceuticals, Inc. in the Superseding Bill of Indictment are hereby dismissed with

prejudice.


             IT IS SO ORDERED.


                                            Signed: June 19, 2006




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